                             Case 23-303, Document 64, 10/13/2023, 3580996, Page1 of 6
                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT
                  23-303
Docket Number(s): ________________________________________                _______________Caption [use short title]_____________________
            one-week extension of time to file brief of
Motion for: ______________________________________________
          Plaintiff-Appellee
________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:
Plaintiff-Appellee seeks an additional 7 days to file his brief
________________________________________________________
                                                                           Vidal v. Advanced Care Staffing, LLC
in this matter, from October 18, 2023 to October 25, 2023.
________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________
             Plaintiff-Appellee
MOVING PARTY:_______________________________________                Defendant-Appellant
                                                     OPPOSING PARTY:____________________________________________

           ✔
          ___Plaintiff                ___Defendant

          ___Appellant/Petitioner     ✔
                                     ___Appellee/Respondent

                 Hugh Baran
MOVING ATTORNEY:___________________________________                                   Proloy K. Das
                                                          OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
Hugh Baran, Kakalec Law PLLC
________________________________________________________ Proloy K. Das, FordHarrison LLP
                                                         _______________________________________________________________
195 Montague St., 14th Fl., Brooklyn, NY 11201
________________________________________________________ 185 Asylum Street, Suite 820, Hartford, CT 06103
                                                         _______________________________________________________________
hugh@kakaleclaw.com, 212-705-8730
________________________________________________________ pdas@fordharrison.com, 860-740-1077
                                                         _______________________________________________________________
                                    Eastern District of New York, 22-cv-5535 (NRM)(MMH)
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                         FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                        INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):     Has this request for relief been made below?          ___Yes ___No
         ✔
        ___Yes     ___No (explain):__________________________           Has this relief been previously sought in this court? ___Yes ___No
        _______________________________________________                 Requested return date and explanation of emergency: ________________
                                                                        _____________________________________________________________
Opposing counsel’s position on motion:
                                                                        _____________________________________________________________
          ✔
         ___Unopposed    ___Opposed ___Don’t Know
                                                                        _____________________________________________________________
Does opposing counsel intend to file a response:
                                                                        _____________________________________________________________
         ___Yes ___No ___Don’t Know


Is oral argument on motion requested?                  ✔ (requests for oral argument will not necessarily be granted)
                                               ___Yes ___No

Has argument date of appeal been set?                   ✔
                                               ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:

 /s/ Hugh Baran
_________________________________      10/13/2023
                                  Date:__________________              ✔
                                                          Service by: ___CM/ECF ___Other [Attach proof of service]




Form T
F    T-1080
       1080 ((rev.12-13)
                  12 13)
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No. 23-303
       United States Court of Appeals for the Second Circuit


                     BENZOR SHEM VIDAL,
                        Plaintiff-Appellee
                                 v.
               ADVANCED CARE STAFFING, LLC,
                    Defendant-Appellant
                 _______________________________
             On Appeal from the United States District Court
for the Eastern District of New York, No. 1:22-cv-05535 (NRM)(MMH)

           __________________________________
      UNOPPOSED MOTION FOR EXTENSION OF TIME
         TO FILE PLAINTIFF-APPELLEE’S BRIEF

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                                     (720) 441-2236
                                     david@towardsjustice.org

                                     Counsel for Plaintiff-Appellee
            Case 23-303, Document 64, 10/13/2023, 3580996, Page3 of 6




      Plaintiff-Appellee Benzor Shem Vidal respectfully moves for a one-week

extension of the filing deadline for his opening brief in this appeal, from October 18,

2023 to October 25, 2023, under Federal Rules of Appellate Procedure 26(b) and 27

and Local Rule 27.1. This is Plaintiff-Appellee’s first request for an extension of

time to file this brief, though Plaintiff-Appellee did previously request a later initial

deadline for filing this brief, which was granted, see ECF Nos. 52 & 62. Counsel for

Defendant-Appellant Advanced Care Staffing, LLC has advised that Defendant-

Appellant has no objection to this request.

      Plaintiff-Appellee makes this request because of the ongoing situation in

Israel/Palestine. Counsel for Plaintiff-Appellee have friends and family who have

been directly impacted by Hamas’s terrorist attacks last Saturday, and by the

outbreak of war there, including friends and family in Israel. Accordingly, good

cause warrants this extension. Further, no significant delay of this appeal will result

from this extension.

      For the foregoing reasons, Plaintiff-Appellee respectfully requests an order

extending the deadline to file his brief by one week, from October 18, 2023 to

October 25, 2023.


Dated:       October 13, 2023
                                               /s/ Hugh Baran
                                               Hugh Baran
                                               Kakalec Law PLLC
Case 23-303, Document 64, 10/13/2023, 3580996, Page4 of 6




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                               Counsel for Plaintiff-Appellee
              Case 23-303, Document 64, 10/13/2023, 3580996, Page5 of 6




                        CERTIFICATE OF COMPLIANCE

         This motion complies with the word limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because it contains 182 words, excluding the exempted

items.

         This motion complies with the typeface and type-style requirements of

Federal Rules of Appellate Procedure 27(d)(1)(E), 32(a)(5), and 32(a)(6) because it

was prepared in a proportionally spaced typeface in 14-point Times New Roman.



Dated:         October 13, 2023               /s/ Hugh Baran
               Brooklyn, New York             Hugh Baran
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                                              Counsel for Plaintiff-Appellee
            Case 23-303, Document 64, 10/13/2023, 3580996, Page6 of 6




                         CERTIFICATE OF SERVICE

      I, Hugh Baran, certify that on October 13, 2023, I electronically filed the

foregoing document with the Clerk of the Court for the United States Court of

Appeals for the Second Circuit by using the appellate CM/ECF system. I certify that

all participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.



Dated:      October 13, 2023                /s/ Hugh Baran
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